     Case 3:13-cv-02213-BN Document 17 Filed 01/28/14             Page 1 of 2 PageID 44


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MILDRED URANGA,

        Plaintiff,

v.                                                                C.A. NO.: 3:13-cv-02213

HOLIDAY MARKET, INC.,
and ABDUL WAFAYEE,

      Defendants.
_______________________________________/

                     PLAINTIFF’S RESONSE TO THE COURT’S ORDER

        Plaintiff, MILDRED URANGA, by and through her undersigned counsel, files this

response to the Court’s Order and states as follows:

        1.      In light of Defendant’s Suggestion of Bankruptcy, Plaintiff intends on filing a

Stipulation of Dismissal as to ABDUL WAFAYEE without prejudice.

        2.      With regard to HOLIDAY MARKET, INC., Plaintiff believes that the matter can

proceed forward as the bankruptcy proceedings do not relate to the Defendant, HOLIDAY

MARKET, INC.


        Respectfully submitted this 28th day of January, 2014.

                                             ROSS LAW GROUP
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                                             /s/ Charles L. Scalise
                                             CHARLES L. SCALISE
                                             Texas Bar No. 24064621
                                             ATTORNEYS FOR PLAINTIFF
   Case 3:13-cv-02213-BN Document 17 Filed 01/28/14                    Page 2 of 2 PageID 45



                                 CERTIFICATE OF SERVICE

I hereby certify that on this the 28th day of January, 2014, I electronically filed the foregoing with
the Clerk of the Court using CM/ECF system, which will send notification to the following:

S. GARY WERLEY
1840 Acton Highway, Suite 102
Granbury, Texas 76049

                                               /s/ Charles L. Scalise
                                               CHARLES L. SCALISE
